      Case 5:20-cv-02574-E Document 21 Filed 10/01/21 Page 1 of 1 Page ID #:3005



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 8                           UNITED STATES DISTRICT COURT

 9                          CENTRAL DISTRICT OF CALIFORNIA

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11   SOPHIA G.,                              )     NO. ED CV 20-2574-E
                                             )
12                    Plaintiff,             )
                                             )
13        v.                                 )           JUDGMENT
                                             )
14   KILOLO KIJAKAZI, Acting                 )
     Commissioner of Social Security,        )
15                                           )
                      Defendant.             )
16                                           )

17

18        IT IS HEREBY ADJUDGED that the decision of the Commissioner of

19   the Social Security Administration is reversed in part and the matter

20   is remanded for further administrative action consistent with the

21   Opinion filed concurrently herewith.

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23              DATED: October 1, 2021.

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25                                                   /S/
                                                CHARLES F. EICK
26                                      UNITED STATES MAGISTRATE JUDGE

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